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IN THE UNITED STaggS DISTRICT COURT f27195 Page 1 of 18
FOR THE DISTRICT WF NEW MEXICO ©

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Case No. CIV 94 892 JC

Plaintiffs,
Vv.

HARPERCOLLINS PUBLISHERS,
INc., a Delaware corporation,

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Defendant. )
)

 

ECLARATION DR. JANET 20s

IN_ SUPPORT OF PLAINTIFFS’ MEMORANDUM_IN OPPOSITION

TO HARPERCOLLINS * MOTION FOR SUMMARY JUDGMENT

I, Dr. Janet Roehl, hereby declare a& follows:

i. I have been retained by counsel for Plaintiffs Audree
Wilson and Carl Wilson to serve as an expert witness concerning
book publishing procedures, and further to provide testimony
relevant to the Court’s determination of whether HarperCollins
published “woulan’t It Be Nice" (the "Book") with actual malice

(sonetines referred to a5 constitutional malice) and with

negligence.

2. Attached hereto as Exhibit "A" and incorporated herein
by reference and made a part hereof for all purposes, is a true
and correct copy of my expert witness report on that subject,
which accurately set forth my opinions and analysis, and the

basis for such.

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Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 2 of 18

3. Attached hereto as Exhibit "B", and incorporated herein
by reference and made a part hereof for all purposes, is a copy
of my resume/curriculum vitae which accurately sets forth my
qualifications. As stated therein, I am Assistant Professor at
Eastern New Mexico University, in the Department of Communicative
arts and Sciences. The attached curriculum vitae accurately sets
forth the publications I have authored as well as my journalism
honors.

4. As more fully set forth in my report, the evidence
shows that HarperCollins had substantial cause to have serious
doubts as to the credibility of Brian Wilson as a source and
author, and the accuracy of the information he provided, as well
as the participation of Eugene Landy in the publishing process
and the effect of allegations that Landy was exerting an undue
influence over Wilson. HarperCollins failed to act reasonably to
resolve these doubts and ascertain Brian Wilson’s ability to
accurately remember and relate the events and conversations.
Further, my analysis shows and it is ny opinion that
HarperCollins violated basic standards of professional journalism
in publishing the Book.

I declare under penalty of perjury, under the laws of the

United States of America that the foregoing is true and correct.

 

DATED: yes [45

 

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 3 of 18

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Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 4 of 18

Consultant's Report
Wilson v. HarperCollins

Dr. Janet E. Roehl

Assistant Professor of Journalism
Eastern New Mexico University
Prepared May 12, 1995

The legal concept of libel revolves around six elements: defamation,
identification, publication, falsity, personal harm, and fault. This report will be my
professional opinion on the last element, fault, as pertinent to the case of Wilson
v. HarperCollins. In this suit, the question of fault is being asked of the publisher,
HarperCollins, of the book “Wouldn't It Be Nice” by Brain Wilson.

Specifically, in this case the key questions appear to be:

1. Was the author/source Brian Wilson credible?

2. If not, was the publisher aware of the situation?

3. If aware, what steps did the publisher take to verify the facts as _
presented by Brian Wilson in the book?

4. If steps should be taken, does failure to take appropriate steps lead to
fault on behalf of said publisher?

5. If fault exist, is it negligence and/or actual malice/reckless disregard?

| will discuss these five questions posed in this case as they relate to standards
of professional journalism. Where appropriate, academic references to support
my opinions will be offered and specific examples from the documents will be
cited.

Question 1: Was the author/source Brian Wilson credible?

In any journalistic endeavor, the credibility of a source is a paramount issue.
Reporters and editors daily ask themselves how believable is the source?
Investigative Reporters and Editors offer guidelines for getting people to tell the
truth. In these guidelines, it is suggested to talk to everyone, keep asking
questions, go back and forth between several sources. They say to challenge
your sources, contradict them a little, don't accept the easy explanation; let them
Prove it to you with more detail.

In “Reporting in Depth” (1991), the author states you compare sources, which
has greater credibility, who is the most likely to know. Writers are warned to
balance the interpretation of the facts. Facts can be self-serving to those who
give them. When possible, check the fact with someone in an opposing camp.
The author continues by telling the reporter to be aware that people vary in their
perceptions.

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 5 of 18

When working with any source it is prudent to check the motivation and
competency of the source, and guard against being too quick to believe what
ever the source says (Ward, 1991).

This recommended practice is reiterated by Evensen in “The Responsible
Reporter” (1995) . “People may lie. They may forget. They may change their
story. They may have hidden agendas. They may tell a reporter what they think
the reporter wants to hear. They may have friends they want to protect, or
enemies they want to hurt.” (pg. 109) Given this reality, it is standard practice to
treat information cautiously and to always try to confirm what people say.

There is every indication in both the book and the documents that Brian Wilson
was not a stable, competent source. There was ample reason to question his
recollections and specific circumstances he cited in the book. Whether these
were fabrications of Brian Wilson, interpretations of Gene Landy or whoever is
open to speculation.

Indications of his instability as a source/author is summarized in the acquisition
memo [HC 10216] which stated “the collapse was the beginning of a descent
into a twenty-year nightmare of drugs, alcoholism, obesity and mental illness.”
The marketing plan card [HC 08739] also makes reference to “his crippling
psychological breakdown.” This condition would lead a prudent reporter and
editor to question the reliability of someone's memory while in this impaired
state. There appears that Brian Wilson had no recollection of anything that
happened to him from 1969 to 1978 [HC 00601].

This would be the kind of source that would be used with great trepidation.
Verification from at least one, probably several other sources, would be
mandatory. Someone who has, by his own admission, suffered mental illness
and substance abuse does not have credibility, as defined to by professional
journalist.

Question 2. if not, was the publisher aware of the situation?

It is clear that Brian Wilson was not credible. So the next question pertains to
what the publisher knew of his unsuitability as a primary source.

There is an old adage in journalism that is forever true: “In case of doubt, leave it
out.” A reporter, editor and publisher must never take anything for granted and
check everything (Hough, 1995). A standard practice in mass media
communication is to keep in mind there are at least two sides to a story and if an
article (manuscript) is critical about someone, give him a chance to tell you his
views.

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 6 of 18

One of the most well-known journalist-scholars, Curtis MacDougall (1968), wrote
that the cardinal sin is inaccuracy. It is the ethical and legal obligation of a
publisher to ensure accuracy. In this case, HarperCollins had several indications
that the primary source/author may not be credible and perhaps the material in
some Cases was inaccurate.

In the Reader's Report, dated October 9, 1990 [HC 08609 - HC 0861 1) there are
several comments raising the specter of source credibility and author reliability.
For example, on the second page of the memo, the reader states that Brian
Wilson's description of this abusive father is “so horrible that it's almost
unbelievable.” In the next paragraph dealing with band members, the reader
States that “the hostility, created in all likelihood when the author was fired from
the Beach Boys, seems to color his early memories more than seems
reasonable.”

In June 1990 Matthew Martin asked, “Do we have any reason to believe Brain
Wilson is capable of telling his Story - Tierny question whole book - Brian Wilson
is not capable of remembering what anybody said.” [HC 00693].

In an editorial memo dated March 18, 1991 [HC 10270 - HC 10274], the issue of
accuracy was questioned. “We will assume that Wilson's recollections-of facts
and events are accurate. Given the totality of his breakdown, | wonder how
much he actually remembers himself and how much he relies on Dr. Landy to fill
in the blanks. "In a July 17, 1991 memo [HC 09237 - HC 09248} the issue of
“unreliable narrator’ was raised.

In a memo date July 24, 1991 from Matthew Martin he summarizes various
meetings and conversations he had with Brian Wilson and his representatives
[HC 00486]. In this document they are allusions to the stability of the primary
source. For example, "Brian Wilson illustrated the public response with a loud,
boisterous rebel yell.” Martin continues, “Brian tends to talk in rather broad,
sweeping terms. He doesn’t address specifics real well. He often struggles to
find words and once asked me to back up-and repeat myself because he had
lost the meaning of my question.” This was a red flag that if he can’t remember
specifics, lack concentration, behaves erratically there may be problems with his
recollections over a lifetime as well.

A month later the issue of credibility was again raised by Craig Herman,

assistant director of publicity. “My suspicions (fueled by TV producers) are that
Mr. Wilson may not be as coherent as we were led to believe and that Dr. Landy
might be looking for any excuse to cancel the book tour.” [HC 08984] Herman
also writes ina memo (HC 10196], “The attorney told me truthfully that there was
a 50/50 chance that Brian, being the emotionally unstable chap that he is, could
lose it for good and therefore be unfit to fulfit his tour agreement.”

 
Case 1:94-cv-00892-JEC-LFG Document 62 Filed oe Page 7 of 18

There were also indications that Brian Wilson may be under the influence of
Gene Landy. In a memo dated July 3, 1991 by Matthew Martin in conversation
with Don Engel [HC 00604-HC 00606], several doubts about the credibility of
Brain Wilson were raised: Gene Landy “exercise undue influence over BW,”
“What if BW is declared incompetent? What if Landy has exerted undue
influence over ms.” Also from Engel [HC 00611], there are the same type of
concerns raised, “BW has reviewed ms. twice, but always with Landy present”
and Brian Wilson apparently telling Engel, “I don't know what's in the book.”

Again, referring to that July 24 document, Martin notes a conversation with Mark
Meadow expressing “Landy’s concern with the manner in which the legal review
was carried out without his consultation.” {HC 00489]. In a meeting with Don
Engel, Martin is told by Engel that O’Connor believes that “he [Brian] is
emotionally and psychologically frail and therefore prone to Landy’s undue
influence.”. . . “Brian is scared of Landy, yet totally in awe of him.” In another
conversation with Don Engel on July 24, 1991 they again discuss the influence
of Landy and competency of Wilson [HC 00491-HC 00492], “... they wanted to
be in a position to press forward with their effort to have a permanent
conservator named for Brain to protect him from Landy’s undue influence.”
Martin continues, “At one point in our conversation, Engel said that the
conservatorship people want to kill the book, Jim Tierney (Brian’s lawyer in the
A&M lawsuit) wants to kill the book, and Dr. O'Connor is skeptical about the book
because he hasn’t been given the opportunity to read it.”

It is obvious from this evidence that the publisher, HarperCollins, was aware of
the credibility problem. It had been discussed both internally and with outsiders.
It is clear that Brian Wilson was not credible and HarperCollins knew he was not.

Question 3. If aware, what steps did the publisher take to verify the facts
as presented by Brian Wilson?

The subject of checking facts is so important that the American Society of
Managing Editors puts on workshops just for fact-checkers. Bob Woodward and -
Carl Bernstein of the Washington Post agreed they would seek confirmation from
a minimum of two other sources when investigating the Watergate break in.
Many times they used three or four sources to corroborate information. This is
common practice in professional journalism.

Numerous journalism textbooks clearly articulate this professional standard.
Ward (1991) instructs reporters to make sure they understand what a person is
saying, check every fact. Statements where there is any doubt should be double
or triple sourced in order to verify accuracy. This means that controversial
information should be verified by two or three different sources. Hough (1995)
notes checking and verifying facts are basic steps in journalism practice.
MacDougall (1968) writes that fairness and caution require a story be verified,
i.e. checking the statements of different sources against each other.

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 8 of 18

Benjaminson and Anderson (1976) said to try to verify or corroborate the same
facts from different sources. Others echoed these practices (Fedler, 1993; Fink,
1992; Garrison, 1990; Harriss, Leiter & Johnson, 1992; Rich, 1994),

HarperCollins was aware of potential problems related to Brain Wilson, yet did
not undertake the mandatory steps to verify the information. These steps would
have been to verify by double or triple sourcing the controversial “facts”
presented by Wilson.

There is also the worrisome problem of Brian Wilson reviewing the book. Again,
this step would have been mandatory, yet there are some indications that he did
not closely read it. ina meeting [HC 00486] on July 24, 1991, with Brian Wilson,
Todd Gold and others Matthew Martin noted that “Todd and Brian explained to
me that as Todd was writing the book, he would submit individual chapters to
Brain which Brian would review in a cursory manner. Brain also read the
completed manuscript but not very thoroughly.” Later, apparently Brian read it.
However, this is disputed in a conversation between Matthew Martin and Don
Engel [HC 00604-HC 00606]. There Martin wrote, “Engel is suspicious that
Wilson never saw the ms.”

It does not appear that HarperCollins made any attempt to verify the claims
made by Brian Wilson. They did not seek confirmation from other sources and
locate documents. The only hint that HarperCollins took any steps at verification
was in a fax to Brain Wilson and Eugene Landy [HC 08858] asking them to send
“us copies of all media (magazine articles, newspaper articles, etc.) about Brian
and the Beach Boys, especially material in which some the of the revelations
(about disputes with the Beach boys, relations with Marilyn and her sisters,
Brian’s mother’s alcoholism, etc.) are mentioned. We're doing research on this
end, too.” This seems to be too little, too late.

On professional journalism publications the story would have been pulled, or in
this case the final manuscript held, until proper verification could have been
conducted. It is unacceptable in journalism to be inaccurate. “If in doubt, leave it
out.”

Question 4. If steps should be taken, does failure to take appropriate steps
lead to fault on behalf of said publisher?

Thorough reporting is the best protection to legal action (MacDougall, 1968).
This was not the practice in this case. The publisher did not make an effort to
verify the claims by Wilson. They failed to address the likelihood that a source, in
this case Landy, may try to use the publication to promote his own agenda. They
failed to investigate the Strong possibility that their primary author and source,
Brain Wilson, was not credible. They failed to question in a substantial way the
reliability of the information.

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 9 of 18

In the ethical case book, “Doing Ethics in Journalism” (1995), the authors offered
an accuracy checklist. This list articulates the basic professional standards as
endorsed by the Society of Professional Journalists for ensuring accuracy in
print. These standards include the following questions that should be asked by
author, editor and publisher:

1. Do you have a high level of confidence about the facts in your story
and the sources that are providing them? If not, can you tell your
story in a more accurate manner? If you have any doubts about
your sources, can you delete them or replace them and achieve a
higher likelihood of reliability?

2. Have you double-checked the key facts?

3. Are you highly confident that all the factual statements in your story
reflect the truth?

4. Are you prepared to defend publicly your fact checking and whatever
other measures that were taken to verify your story?

It is clear from the documents that the editors at HarperCollins would have been
unable to answer these questions in the affirmative. They failed to investigate
doubts they knew surrounded the credibility of Brian Wilson. There was certainly
reasonable doubt about Brian Wilson's ability to recall much of the incidences in
the book and the undue influence Eugene Landy had on him. Subsequently
there could have been only minimal confidence in the facts as Brian Wilson told
them. It does not appear that HarperCollins double-checked the facts as
presented. As a result of the omission of this critical step in reporting, they could
not have been highly confident of the truth of these claims. They simply did not
verify them. It would be very difficult to defend this lack of verification and
Violation of professional journalism standards.

 

Question 5. If fault exist, is it negligence and/or actual malice/reckless
disregard?

Numerous codes of ethics of professional associations have addressed the issue
of accuracy and fairness. The Code of Ethics of the Society of Professional
Joumalist states there is no excuse for inaccuracies or lack of thoroughness.
Public Radio News Directors in their code wrote all errors of fact, bias or
omission must be corrected immediately. Radio-Television News Directors
Association wrote they will evaluate information solely on its merits as news,
rejecting sensationalism or misleading emphasis in any form. Members of
Associated Press Managing Editors included in their code an admonition to
guard against inaccuracies, carelessness, bias or distortion through either
emphasis or omission. Perhaps stated most succinctly, KTVQ-2 in Billings,
Montana included in its code of ethics: “In alf cases ...ask yourself WHY? ...
Are they lying to you? .. . Do they have an ax to grind?”

In suits such as this, there are three questions that are commonly asked (Rich
1994):
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 10 of 18

a. Are you publishing something you aren't sure is truthful?

b. Are you carelessly publishing something that is inaccurate?

c. Are you publishing something accusatory that you haven't checked
out?

An affirmative response to any of these could lead to sanctions. In such cases,
it must be shown that the defendant acted in an irresponsible manner. From the
material | have read, it appears that HarperCollins would have to answer these
questions “yes.”

In the case of a public figure, like Carl Wilson, fault is proven if it can be shown
the statement was made by the publisher even though it was known in advance
to be false or that there was serious doubt at to its truth. For Audree Wilson, a
private figure, it must be proven the publisher was negligent in failing to
determine that the statement was false.

From the documents, it is clear that HarperCollins knew that Brian Wilson was
not credible and they did not take the necessary and reasonable steps to verify
his version. They are willfully at fault. The question then becomes, did they
purposefully and knowingly continue with the publication of the book.

It appears that one of the motivations to disregard the concerns raised by both
they own professional staff as well as outside experts was a self-imposed
timeline. This timeline is much different than that a newspaper faces with
deadline. For books the issue of timeliness is not as relevant as “hot news”
media outlets. Yet, there are repeated assertions in the documents to the
“crash’ schedule.” [HC 00472] Sandy Wolf in a memo to Matthew Martin where
she sent him the catalog copy for legal review refers to “running on a very tight
schedule.” [HC 00662] In another request for a legal review, Matthew Martin ask
Slade Metcalf to conduct a legal review that “needs to be completed within the
next 2 1/2 - 3 weeks.” [HC 00672]. Again reference to a tight timeline was made
in a memo to Brian Wilson, Eugene Landy and Todd Gold from Tom Miller [HC
08624-HC 08635]. “It goes without saying that since we are on.such a tight crash
schedule, we'd like the revised manuscript as soon as you are humanly able to
deliver it.” Genie Gavenchak had an initial reaction that “there were perhaps
some insurmountable problems’ with the manuscript. Yet these were apparently
quickly resolved so they could come “close to the production schedule required.”
[HC 00475]. Her concerns were at the heart of the credibility problem. She
thought that “all the recent stuff came a lot from Landy,” she questioned
“Wilson's mental competency in 1968-69,” and inquired at to the reliability of the
author, i.e. “if BW doesn't know who wrote Calif. Girls, who does?” {HC 00631 -
HC 00633].

It appears accuracy was scarified for expediency.

 
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 11 of 18

Based on the references and documents cited in this report, | feel that
HarperCollins failed to conduct a reasonable investigation. There was substantial
cause to have serious doubts as to the credibility of Brian Wilson as a source
and author, and the accuracy of the information he provided. Due to self-
imposed time constraints as well as perhaps other factors, HarperCollins failed
to act reasonably to verify the information. They violated basic standards of
professional journalism as detailed in both professional literature and various
codes of ethics of professional media organizations.

 

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Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 12 of 18

Consultant's Report
Wilson v. HarperCollins

Prepared by:

{Janet E. Roehl, Ph.D.
VMay 12, 1995
Portales, New Mexico
 

Case 1:94-cv-00892-JEC-LFG Document 62 Filed 09/27/95 Page 13 of 18

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BS 1975 Journalism Education, Northern Arizona University

 

 

 

 
 

 

 

MA 1977 =Joumalism Education, Arizona State University

PhD 1981 Adult Education, Department of Higher and Adult Education, Arizona State University
(dissertation topic: “Stressful Life Events of Reentry Women Students”)

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Assistant Professor, Department of Communicative Arts and Se
Responsibilities include: lead Joumalism faculty memb
curriculum review; recruiting and marketing;
committees; teach law, ethics, reporting,
writing courses. 1992-current,

lences, Eastern New Mexico University.
er and advisor of student publications;
student advisement; graduate committees; faculty
communication design, Photojournalism and various

Director, University Outreach and Summer Sessions, Eastern New Mexico University .
Responsibilities include: chlef administrative officer of all outreach Programs and summer session:
directing, marketing, and coordination of distance education Programs and Evening College: offer
educational programs at local military base; developing new Programs in lifelong learning; administer
the community programs: direct extended degree programs and College of the Alr (instructional

television); serving on appropiate committees; institutional representative to extemal publics.
1987-1992.

Associate Director, Office of Continuing Education and Summer Session, University of Wisconsin-Stout.
Responsibilities include: primary budget preparation and monitoring for office Including state appro-
priations and self-sustaining accounts: supervision of professional and clerical staff; coordinate all off.
campus credit course offerings, including television, radio, newspaper, interactive video and telecon-
ference classes; coordinate national non credit conferences and plan summer institutes; develop

certificate programs; develop videotapes and other instructional materials: serve on campus and
state committees. 1983-1987.

Graduate Faculty, University of Wisconsin-Stout.

Responslbilltes include: Serve as a research advisor for graduate students’ thesis work; avallable for
consuiting. 1983-1987,

Program Specialist, Office of Continuing Education and Summer Session, University of Wisconsin-Stout.
Responsibiltles include: Work with varlous schools of the University in the development and schedu!-
ing of off-campus credit courses and non credit conferences and workshops; coordination of outreach

program in cooperation with other campuses in University of Wisconsin System; initiate experimental
programs; staff supervision. 1981-1983.

 
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Publications Coordinator, Office of Research Services, College of Education, Arizona State University,
Responsiblities include: Supervision of Staff; davelopment of Proposals; design, Production, @valua-

Intern, University Continuing Education and Summer Sessions, Arizona State University.
Responsiblities include: Proposal writing; staff development and training; conference assistance;
research design and implementation; credit and non credit Scheduling and enrollment; budget prepa-
ration: committee assignments. 1977-1978.

Research Associate, Department of Higher and Adutt Education, Arizona State University.
Responsiblities include: In service training of Adult Basic Education teachers in Arizona; design and
development of instructional materials; workshop training leader, 1976-1977,

 

 

  

 

     

Invited participant in “Journalism Educators Seminar" Sponsored by American Press Institute

1993 Invited participant in “Seminar for Professors" seminar sponsore by C-SPAN,
1993 Invited participant in “Journalism and Society” seminar sponsored by The Poynter Institute
1987 Outstanding Young Women in America
87 Selected as participant in “Leam From Success” program Sponsored by National University
Continuing Education Association

1987-1988 Notable American Women
1986-1987 Who's Who in America
1984-1985 Who's Who in the Midwest

1987-1988
1980-81 ho's W on ntsin A an Universities and Colle es -
1974 Outstanding Journalism Student in the College of Education, Northern Arizona University

1971-1974 Academic Scholarship, Northern Arizona University

  
 

 

 

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Society of Professional Journalists; New Mexico Press Women; National Press Women; Correspondents
Fund Committee, Assoclation for Education In Journalism and Mass Communications; CMA Llalson, Media
Law and Ethics Committee, College Media Advisors; American Statistical Assoclation; New Mexico Founda-
tion for Open Government: Newspaper Association of America; Investigative Reporters & Editors

 

 

 

 

 

 

 

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